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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 15-1597-GW(CWx)                                             Date     March 29, 2018
 Title             EFT Holdings, Inc. v. CTX Virtual Technologies, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                          Katie Thibodeaux
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Lawrence C. Ecoff                                     Theodore C. Peters
                        Yaron Tilles
 PROCEEDINGS:                 TELEPHONIC CONFERENCE


Further discussions with Judge Gandhi are ongoing. The Court continues the hearing to April 19, 2018
at 8:30 a.m., with a joint status report to be filed by noon on April 17, 2018.




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                                                               Initials of Preparer   JG
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